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                        UNITED STATES COURT OF APPEALS
                            FOR THE FOURTH CIRCUIT
                                  ____________
                                    Case No. 23-1887
                                  (5:23-cv-00158-JPB)
                                      ____________
        WEST VIRGINIA PARENTS FOR RELIGIOUS FREEDOM; PASTOR
        CHRIS FIGARETTI; JUDD UHL, individually and on behalf of their
        minor children, and on behalf of others similar situated,

                   Plaintiffs - Appellants
        v.

        DR. MATTHEW CHRISTIANSEN, in his official capacities as the State
        Health Officer and Commissioner of the Bureau of Public Health,

                   Defendant - Appellee.
                                    ____________

                      Appeal from the United States District Court
                 for the Northern District of West Virginia at Wheeling
                                      ____________

             CONSENT MOTION TO EXTEND BRIEFING DEADLINE


        J. Zak Ritchie
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              Defendant-Appellee Dr. Matthew Christiansen moves for a 30-day

        extension of the deadline to file his response brief, or until January 17,

        2024. Plaintiff-Appellants consent to the requested extension.

              In further support of the motion, Appellee states as follows:

              1.   Appellant noticed this appeal on August 23, 2023. This

        Court entered a briefing schedule setting the deadline for Appellants’

        opening brief as October 4.

              2.   On September 7, Appellants sought, and this Court granted,

        a 44-day extension of time to file their opening brief, or until November

        17, the Friday before the week of Thanksgiving. Appellee did not object

        to Appellants’ motion to extend. Appellee’s response brief deadline was

        thereby moved to December 18.

              3.   Appellants filed their opening brief on Friday, November 17.

              4.   Good cause exists to extend the deadline for Appellee’s

        response brief by 30 days. In addition to the intervening Thanksgiving

        holiday, undersigned counsel for Appellee has oral argument during the

        next session of this Court, on December 7. See No. 22-2271. In addition,

        undersigned counsel has an opening appeal brief due on December 14 in
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        the West Virginia Supreme Court of Appeals, see No. 23-466, and an

        opening brief due December 15 in this Court, see No. 23-1853.

              5.    Finally, an extension of a lesser duration would fall around

        the Christmas and New Year’s holidays.

              6.    This is Appellee’s first requested extension in this case. (A

        prior motion seeking this relief was denied as premature; with the filing

        of Appellants brief, this request is now ripe).

              7.    Therefore, Appellee requests a 30-day extension in which to

        file his response brief.

              Accordingly, this Court should enter an order extending the

        deadline to file the response brief to January 17, 2024.



                                         Respectfully submitted,

                                         /s/ J. Zak Ritchie
                                         J. Zak Ritchie
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                             CERTIFICATE OF SERVICE

              I hereby certify that on November 20, 2023, I electronically filed
        the foregoing with the Clerk of Court using the CM/ECF System, which
        will send notice of such filing to the parties in this case.


                                                 /s/ J. Zak Ritchie
                                                 Counsel for Appellee
